Case 1:17-cv-01986-RJL Document 14-1 Filed 10/27/17 Page 1 of 5




              EXHIBIT 1
Case
Case1:17-cv-01986-RJL
     1:17-cv-01986-RJL Document
                       Document14-1
                                9-1 Filed
                                    Filed10/10/17
                                          10/27/17 Page
                                                   Page22of
                                                         of45
10/24/2017                             Tracking, TrackDocument
                        Case 1:17-cv-01986-RJL        Parcels, Packages,
                                                                    14-1 Shipments
                                                                             Filed| DHL Express Tracking
                                                                                     10/27/17      Page 3 of 5
                                                                                    English        Contact Center             Country Profile




Track DHL Express Shipments
Here’s the fastest way to check the status of your shipment. No need to call Customer Service – our online results give you real-time, detailed
progress as your shipment speeds through the DHL network.



Result Summary
          Waybill: 9043795342                         Monday, October 16, 2017 at 13:09                          1 Piece
                                                      Origin Service Area:
          Signed for by: CHUMU                         WASHINGTON - RONALD REAGAN NATIONAL, DC -
           Get Signature Proof of Delivery             WASHINGTON - USA
                                                      Destination Service Area:
                                                       DAR ES SALAAM - DAR ES SALAAM - TANZANIA

 Monday, October 16, 2017                             Location                                    Time        Piece

 16       Delivered - Signed for by : CHUMU           DAR ES SALAAM                               13:09             1 Piece

 15       With delivery courier                       DAR ES SALAAM - TANZANIA                    13:08             1 Piece

 14       Arrived at Delivery Facility in DAR ES      DAR ES SALAAM - TANZANIA                    07:36             1 Piece
          SALAAM - TANZANIA
 Saturday, October 14, 2017                           Location                                    Time        Piece

 13       Departed Facility in AMSTERDAM -            AMSTERDAM - NETHERLANDS, THE                13:20             1 Piece
          NETHERLANDS, THE
 12       Processed at AMSTERDAM -                    AMSTERDAM - NETHERLANDS, THE                10:46             1 Piece
          NETHERLANDS, THE
 Friday, October 13, 2017                             Location                                    Time        Piece

 11       Arrived at Sort Facility AMSTERDAM -        AMSTERDAM - NETHERLANDS, THE                04:21             1 Piece
          NETHERLANDS, THE
 10       Departed Facility in BRUSSELS - BELGIUM     BRUSSELS - BELGIUM                          00:53             1 Piece

 Thursday, October 12, 2017                           Location                                    Time        Piece
 9        Processed at BRUSSELS - BELGIUM             BRUSSELS - BELGIUM                          21:38             1 Piece
 8        Arrived at Sort Facility BRUSSELS -         BRUSSELS - BELGIUM                          19:34             1 Piece
          BELGIUM

 7        Departed Facility in CINCINNATI HUB - USA   CINCINNATI HUB, OH - USA                    05:10             1 Piece
 6        Processed at CINCINNATI HUB - USA           CINCINNATI HUB, OH - USA                    02:43             1 Piece
 Wednesday, October 11, 2017                          Location                                    Time        Piece

 5        Departed Facility in BALTIMORE AIRPORT -    BALTIMORE AIRPORT, MD - USA                 23:45             1 Piece
          USA

 4        Processed at BALTIMORE AIRPORT - USA        BALTIMORE AIRPORT, MD - USA                 23:42             1 Piece

 3        Departed Facility in WASHINGTON -           WASHINGTON - RONALD REAGAN                  21:38             1 Piece
          RONALD REAGAN NATIONAL - USA                NATIONAL, DC - USA

 2        Processed at WASHINGTON - RONALD            WASHINGTON - RONALD REAGAN                  21:36             1 Piece
          REAGAN NATIONAL - USA                       NATIONAL, DC - USA

 1        Shipment picked up                          WASHINGTON - RONALD REAGAN                  12:06
                                                      NATIONAL, DC - USA




If you would prefer to speak to someone personally about the location of your shipment, please contact DHL Express Customer Service.

      Terms & Conditions
      Tracking FAQs
http://www.dhl.com/en/express/tracking.html?AWB=9043795342&brand=DHL                                                                            1/2
10/24/2017                           Tracking, TrackDocument
                      Case 1:17-cv-01986-RJL        Parcels, Packages,
                                                                  14-1 Shipments
                                                                           Filed| DHL Express Tracking
                                                                                   10/27/17      Page 4 of 5




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                 Case 1:17-cv-01986-RJL Document 14-1 Filed 10/27/17 Page 5 of 5




23 October 2017
Dear Customer,
This is a proof of delivery / statement of final status for the shipment with waybill number 9043795342.
Thank you for choosing DHL Express.
www.dhl.com


 Your shipment 9043795342 was delivered on 16 October 2017 at 13.09

 Signed                 CHUMU                                  Destination Service Area        DAR ES SALAAM
                                                                                               TANZANIA

 Signature                                                     Shipment Status                 Delivered




                                                               Piece ID(s)                     JD014600004872317619



 Additional Shipment Details
 Service                EXPRESS WORLDWIDE doc                  Origin Service Area             WASHINGTON - RONALD
                                                                                               REAGAN NATIONAL
 Picked Up              11 October 2017 at 12.06
                                                                                               UNITED STATES OF AMERICA
                                                               Shipper Reference               23804.0001
